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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                     )      No. CR 05 465 JSW
                                                   )
14           Plaintiff,                            )      [PROPOSED] ORDER AND
                                                   )      STIPULATION TO SET CHANGE OF
15      v.                                         )      PLEA HEARING FOR AUGUST 3, 2006
                                                   )
16   ZIBU “BOB” GAO,                               )
                                                   )
17           Defendant.                            )
                                                   )
18
19           The defendant and the United States have agreed in principle upon a proposed resolution
20   in this matter. See Attachment A, Proposed Plea Agreement. The parties respectfully request
21   that this Court set the above-captioned matter for an anticipated change of plea hearing on
22   August 3, 2006 at 2:30PM before this Court.
23
24           IT IS SO STIPULATED:
25
26   DATED: August 1, 2006                ___________/s____________________
                                          ALAN DRESSLER, ESQ.
27                                        Attorney for Defendant
28
     DATED: August 1, 2006                ___________/s____________________
                                          ROBERT DAVID REES
                                          Assistant United States Attorney
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1           Pursuant to stipulation, IT IS SO ORDERED, that the parties appear before this Court on
2    August 3, 2006 at 2:30PM for an anticipated change of plea hearing.
3
4
5          August 2, 2006
     DATED:________________              _______________________________
                                         HON. JEFFREY S. WHITE
6                                        United States District Judge
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